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                                                           1                Joshua Willoughby <attorneyjrw@gmail.com>



Howell v. Harris County et al; Case 4:24-cv-00468
Lancelin-Curb, Michelle (CAO) <Michelle.Lancelin-Curb@harriscountytx.gov>                      Thu, Feb 22, 2024 at 9:52 AM
To: Joshua Willoughby <attorneyjrw@gmail.com>
Cc: "Butt, Jim (CAO)" <James.Butt@harriscountytx.gov>


 Dear Counsel



 In connection with the referenced matter, please see attached courtesy copies of the following:



        Dkt 3 Defendant HC's Opposed Motion to Dismiss
        Dkt 3-1 Proposed Order
        Dkt 4 Defendant Martinez’s Answer to Dkt 1-1 State Complaint
        Dkt 5 Defendants’ Certificate of Interested Parties




                                 Kind regards,



                                 Michelle Lancelin-Curb
                                 Paralegal, Defensive Litigation Division

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 4 attachments
      Dkt 3-1 Proposed Order.pdf
      79K
      Dkt 4 Defendant Martinez Answer to Dkt 1-1 State Complaint.pdf
      138K
      Dkt 5 Defendants Certificate of Interested Parties.pdf
      110K
      Dkt 3 Defendant HC's Opposed Motion to Dismiss.pdf
      218K
